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 9   Attorneys for Defendant, American Airlines, Inc.
10                          UNITED STATES DISTRICT COURT
11                           FOR THE DISTRICT OF ARIZONA
12   Sean Bennett, an individual,                )      Case No. 2:23-cv-02425-ROS--DMF
13                                               )
                               Plaintiff,        )      DEFENDANT’S NOTICE OF
14                                               )      SERVICE OF NOTICE OF
15         vs.                                   )      DEPOSITION
                                                 )
16   City of Phoenix, a governmental entity; )          Honorable Judge: Roslyn O. Silver
17   American Airlines, Inc., a foreign          )      Magistrate Judge: Deborah M. Fine
     corporation; Officer Joel Cottrell and Jane )
18   Doe Cottrell, a married couple; Officer )
19   Benjamin Denham and Jane Doe                )
     Denham, a married couple; Officer Todd )
20   Blanc and Jane Doe Blanc, a married         )
21   couple; Officer Peru and Jane Doe Peru, a )
     married couple; Sergeant Hogan and Jane )
22   Doe Hogan, a married couple;                )
23                                               )
                               Defendant(s). )
24                                               )
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                      DEFENDANT’S NOTICE OF SERVICE OF NOTICE OF DEPOSITION
                                                                 Case No. 2:23-cv-02425-ROS--DMF
     316284916v.1
 Case 2:23-cv-02425-ROS-DMF        Document 55      Filed 07/11/25    Page 2 of 3




 1           Pursuant to LRCiv 5.2, Defendant American Airlines, Inc., (“Defendant”)
 2   through its counsel of record herein, hereby notifies the Court that Defendant served
 3   Defendant American Airlines, Inc.’s Second Amended Notice of Deposition of
 4   Plaintiff Sean Bennett; and Defendant American Airlines, Inc.’s Second Amended
 5   Notice of Deposition of Monica Bennett via email on July 11, 2025.
 6                                      Respectfully submitted,
 7
     Dated: July 11, 2025
 8                                          By:    /s/ Patrick Kearns
 9                                                 Patrick J. Kearns, Esq.
                                                   Taylor Allin, Esq.
10                                                 Sarena L. Kustic, Esq.
11                                                 Attorneys for Defendant, American
                                                   Airlines, Inc.
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                     DEFENDANT’S NOTICE OF SERVICE OF NOTICE OF DEPOSITION
                                                                Case No. 2:23-cv-02425-ROS--DMF
     316284916v.1
 Case 2:23-cv-02425-ROS-DMF           Document 55    Filed 07/11/25    Page 3 of 3




 1                              CERTIFICATE OF SERVICE
 2           I hereby certify that this document was filed and served this 11th day of July
 3   2025, using this Court’s CM/ECF filing system which will electronically transmit a
 4   copy to all counsel of record.
 5   Dated: July 11, 2025
                                             By:    /s/ Patrick Kearns
 6                                                  Patrick J. Kearns, Esq.
 7                                                  Attorneys for Defendant, American
                                                    Airlines, Inc.
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